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                    EXHIBIT
                                          Exhibit List
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                                               Exhibit A - Amended Joint Exhibit List


 Joint Exhibit Number   Description                                  Bates Begin   Bates End     Alternate Description
         J001           Tariff NPB 8100-J                            NPBL000220    NPBL000226    CSXT 30(b)(6) Depo.
                                                                                                 DiDeo Depo. Hall Depo.
                                                                                                 MacDonald Depo.
                                                                                                 NPBL 30(b)(6)/Moss Depo.
        J002            January 1, 1961 Map - NPBL and               ECF No. 1-2                 Booth Depo
                        Connections
        J003            July 7, 1897 Operating Agreement             ECF No. 1-1                 CSXT0000767-774 NPBL000028-
                                                                                                 31 NPBL008772-8820
                                                                                                 CSXT0086338-86345
                                                                                                 Hall Depo.
        J004            July 26, 1917 Agreement                      CSXT0000669   CSXT0000685   NSR 30(b)(6) Hunt
        J005            July 27, 1917 Agreement                      NPBL000032    NPBL000047    NSR 30(b)(6) Hunt
        J006            February 1, 1984 NPBL Agreement with         CSXT0025696   CSXT0025701
                        VPA
        J007            December 31, 1985 Interchange Agreement      CSXT0094704   CSXT0094737   Kendall Depo.
        J008            March 1, 1989 Supplemental Agreement         ECF No. 1-3                 CSXT0000757-760 NPBL010366-
                                                                                                 10367 CSXT0086318-86319 CSXT
                                                                                                 30(b)(6) Depo.
                                                                                                 Armbrust Depo. 1

        J009            January 23, 1991 Service Agreement           NPBL013893    NPBL013904    Booth Depo
        J010            April 10, 1996 NPBL By-Laws                  ECF No. 1-4                 CSXT0000761-766 CSXT086332-
                                                                                                 337
                                                                                                 Hall Depo. Armbrust Depo. 1
                                                                                                 NPBL 30(b)(6)/Moss Depo.
        J011            December 1, 1999 Rail Car Storage            NPBL04028     NPBL004034
                        Agreement
        J012            September 3, 2003 Amendment No. 1 to         NPBL013888    NPBL013891
                        Service Agreement
                        April 12, 2006 Amendment No. 2 to Service
        J013            Agreemement                                  NPBL013876    NPBL013880
                        June 1, 2007 Amendment No. 3 to Service
        J014            Agreement                                    NPBL013872    NPBL013873
        J015            NPBL 2010 Annual Report                      NPBL007646    NPBL007672
        J016            NPBL 2011 Annual Report                      NPBL015196    NPBL015222
        J017            NPBL 2012 Annual Report                      NPBL009144    NPBL009169
        J018            NPBL 2013 Annual Report                      NPBL009171    NPBL009192
        J019            NPBL 2014 Annual Report                      NPBL015563    NPBL015584
        J020            NPBL 2015 Annual Report                      NPBL015601    NPBL015622
        J021            NPBL 2016 Annual Report                      NPBL013498    NPBL013519
                                                                     NPBL006180    NPBL006200
        J022            NPBL 2017 Annual Report                      CSXT0149080   CSXT0149100   Armbrust Depo Burns Depo
                                                                     NPBL026348    NPBL026369
        J023            NPBL 2018 Annual Report                      CSXT0123240   CSXT0123261   Burns Depo
        J024            NPBL 2019 Annual Report                      NPBL027926    NPBL027946
        J025            NPBL 2020 Annual Report                      NPBL028850    NPBL028871
        J026            NPBL 2021 Annual Report                      NPBL028872    NPBL028893
                        April 4, 2007 NPBL Board of Directors
        J027            meeting minutes and materials            NPBL017669        NPBL017772
                        April 4, 2007 NPBL Stockholder meeting
        J028            minutes and materials                    NPBL017734
                        December 19, 2007 NPBL Board of                                          CSXT 30(b)(6) Depo
        J029            Directors meeting minutes and materials  NPBL017773        NPBL017778    Armbrust Depo
                        April 9, 2008 NPBL Board of Directors    NPBL017785        NPBL017790
        J030            meeting minutes and materials            NPBL017792        NPBL017793    Coleman Depo
                        April 9, 2008 NPBL Stockholders meeting
        J031            minutes and materials                    NPBL017791
                        June 20, 2008 NPBL Board of Directors
        J032            special meeting minutes and materials    NPBL017811        NPBL017812
                        December 3, 2008 NPBL Board of Directors
        J033            meeting minutes and materials            NPBL017828        NPBL017864
                                                                 NPBL017865
                        April 8, 2009 NPBL Board of Directors    NPBL017867
        J034            meeting minutes and materials            NPBL017865        NPBL017870
                        April 8, 2009 NPBL Stockholder meeting
        J035            minutes and materials                    NPBL017866


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                                             Exhibit A - Amended Joint Exhibit List


 Joint Exhibit Number   Description                            Bates Begin     Bates End     Alternate Description

                        September 4, 2009 NPBL Board of Directors
        J036            special meeting minutes and materials     NPBL017871   NPBL017878
                        October 5, 2009 NPBL Board of Directors
        J037            special meeting minutes and materials     NPBL017879   NPBL017880

                        October 26, 2009 NPBL Board of Directors
        J038            special meeting minutes and materials     NPBL017881
                        December 2, 2009 NPBL Board of Directors
        J039            meeting minutes and materials             NPBL017882   NPBL017884
                        April 14, 2010 NPBL Board of Directors    NPBL017896   NPBL017897
        J040            meeting minutes and materials             NPBL017899   NPBL017901
                        April 14, 2010 NPBL Stockholders meeting
        J041            minutes and materials                     NPBL017898
                        September 8, 2010 NPBL Board of Directors
        J042            meeting minutes and materials             NPBL017902
                        December 29, 2010 NPBL Board of
        J043            Directors meeting minutes and materials   NPBL017928   NPBL017932    Armbrust Depo
                        April 13, 2011 NPBL Board of Directors    NPBL017933
        J044            meeting minutes and materials             NPBL017936   NPBL017938    Armbrust Depo Eliasson Depo
                        April 13, 2011 NPBL Stockholder meeting
        J045            minutes and materials                     NPBL017934   NPBL017935    Armbrust Depo
                        September 19, 2011 NPBL Board of
        J046            Directors meeting minutes and materials   NPBL017945
                        September 23, 2011 NPBL Board of
        J047            Directors meeting minutes and materials   NPBL017946   NPBL017947
                        December 7, 2011 NPBL Board of Directors
        J048            meeting minutes and materials             NPBL017948   NPBL017952
                                                                  NPBL017953
                        April 11, 2012 NPBL Board of Directors    NPBL017955   NPBL017958
        J049            meeting minutes and materials             NPBL000319   NPBL000321
                        April 11, 2012 NPBL Stockholder meeting
        J050            minutes and materials                     NPBL017954
                        December 18, 2012 NPBL Board of
        J051            Directors meeting minutes and materials   NPBL017983   NPBL017988
                        April 10, 2012 NPBL Board of Directors    NPBL017953   NPBL 017953
        J052            meeting minutes and materials             NPBL017955   NPBL017958
                        April 10, 2012 NPBL Stockholder meeting
        J053            minutes and materials                     NPBL017954   NPBL017954
                        December 18, 2013 NPBL Board of           NPBL017995   NPBL018000
        J054            Directors meeting minutes and materials   NPBL000301   NPBL000312
                                                                  NPBL018001
                                                                  NPBL018003
                        April 10, 2014 NPBL Board of Directors    NPBL000339   NPBL018004
        J055            meeting minutes and materials             NPBL000341   NPBL000351
                        April 10, 2014 NPBL Stockholders meeting NPBL018002
        J056            minutes and materials                     NPBL000340
                        December 10, 2014 NPBL Board of
        J057            Directors meeting minutes and materials   NPBL018011   NPBL018022
                        April 6, 2015 NPBL Board of Directors     NPBL018023
        J058            meeting minutes and materials             NPBL018025   NPBL018026
                        April 6, 2015 NPBL Stockholder meeting
        J059            minutes and materials                     NPBL018024
                        December 9, 2015 NPBL Board of Directors
        J060            meeting minutes and materials             NPBL018106   NPBL018109
                        April 28, 2016 NPBL Board of Directors
        J061            meeting minutes and materials             NPBL018118   NPBL018120
                        April 28, 2016 NPBL Stockholder meeting
        J062            minutes and materials                     NPBL000570   NPBL000570
                        December 7, 2016 NPBL Board of Directors
        J063            meeting minutes and materials             NPBL018134   NPBL018139
                        April 5, 2017 NPBL Board of Directors     NPBL018166
        J064            meeting minutes and materials             NPBL018168   NPBL018169
                        April 5, 2017 NPBL Stockholder meeting
        J065            minutes and materials                     NPBL018167




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                                              Exhibit A - Amended Joint Exhibit List


 Joint Exhibit Number   Description                                Bates Begin   Bates End    Alternate Description
                        December 5, 2017 NPBL Board of Directors
        J066            meeting minutes and materials              NPBL018176    NPBL018182
                        April 18, 2018 NPBL Board of Directors     NPBL018187    NPBL018194
        J067            meeting minutes and materials              NPBL018197    NPBL018199   NPBL 30(b)(6) Depo
                        April 18, 2018 NPBL Stockholder meeting
        J068            minutes and materials                      NPBL018198    NPBL018196
                        December 17, 2018 NPBL Board of
        J069            Directors meeting minutes and materials    NPBL018211    NPBL018216
                        April 24, 2019 NPBL Board of Directors     NPBL018217
        J070            meeting minutes and materials              NPBL018220    NPBL018230
                        April 24, 2019 NPBL Stockholder meeting
        J071            minutes and materials                      NPBL018220    NPBL018221
                        December 4, 2019 NPBL Board of Director
        J072            meeting minutes and materials              NPBL018218    NPBL018230
                                                                   NPBL027925    NPBL027974
                        April 8, 2020 NPBL Board of Director       NPBL027950    NPBL027967
        J073            meeting minutes and materials              NPBL028966    NPBL028971
                                                                   NPBL027947
                                                                   NPBL02950     NPBL027949
                        April 8, 2020 NPBL Stockholder meeting     NPBL028673    NPBL027967
        J074            minutes and materials                      NPBL028776    NPBL028779
                        July 22, 2020 NPBL Board of Director       NPBL028529    NPBL028557
        J075            meeting minutes and materials              NPBL028558    NPBL028610
                        December 2, 2020 NPBL Board of Director
        J076            meeting minutes and materials              NPBL028510    NPBL028528
                        April 7, 2021 NPBL Board of Director
        J077            meeting minutes and materials              NPBL028614    NPBL028655
                        December 8, 2021 NPBL Board of Director
        J078            meeting minutes and materials              NPBL028656    NPBL028671
                        April 6, 2022 NPBL Board of Director
        J079            meeting minutes and materials              NPBL028894    NPBL028965
                                                                   NPBL017885    NPBL017895
                                                                   NPBL017903    NPBL017927
                        Unanimous Written Consents of the Board of NPBL018112    NPBL018117
                        Directors, signature pages and supporting  NPBL018121    NPBL018133
        J080            materials                                  NPBL018142    NPBL018147




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